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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF ILLINOIS


   MARK HALE, TODD SHADLE, and LAURIE
   LOGER, on behalf of themselves and all others
   similarly situated,
                                                               Case No. 3:12-cv-00660-DRH-SCW
                          Plaintiffs

               v.                                              Judge David R. Herndon

   STATE FARM MUTUAL AUTOMOBILE                                Magistrate Judge Stephen C. Williams
   INSURANCE COMPANY, EDWARD
   MURNANE, and WILLIAM G. SHEPHERD,

                          Defendants.


              DECLARATION OF KRISTOFER S. RIDDLE IN SUPPORT OF
         PLAINTIFFS’ OPPOSITION TO STATE FARM’S MOTION FOR SUMMARY
                                  JUDGMENT
               I, Kristofer S. Riddle, provide the following declaration pursuant to 28 U.S.C. § 1746:

               I am a member in good standing of the State Bar of Illinois and an associate attorney at

   Clifford Law Offices, Chicago, Illinois. I am one of the counsel for Plaintiffs in the above-

   captioned action. I have personal knowledge of the matters set forth herein, and would testify

   competently thereto if called upon to do so.

               Exhibit A to Plaintiffs’ Opposition to State Farm’s Motion for Summary Judgment on

   Grounds of Rooker-Feldman, Res Judicata, and Collateral Estoppel is an appendix containing

   the factual record supporting Plaintiffs’ Opposition. For the Court’s convenience and ease of

   reference, each document in Exhibit A has been repaginated with a number beginning with the

   letters “PA.”




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               1.    The document bearing page numbers PA001-0012 is a true and correct copy of



                                                  .

               2.    The document bearing page numbers PA0013-0015 is a true and correct copy of

   the IBRT Annual Report, 2001, produced and bates numbered HALE0000441-0000443.

               3.    The document bearing page number PA0016 is a true and correct copy of a

   Memorandum of 1/12/07 from the ICJL Compensation Committee to the ICJL Compensation

   Review Committee produced by Ed Murnane and bates numbered Murnane021791.

               4.    The document bearing page numbers PA0017-0027 is a true and correct copy of



               5.    The document bearing page numbers PA0028-0029 is a true and correct copy of




               6.    The document bearing page number PA0030 is a true and correct copy of an

   email dated 8/6/04, produced by Ed Murnane and bates numbered Murnane043429.

               7.    The document bearing page number PA0031 is a true and correct copy of an

   email thread dated 9/27/05, produced by State Farm and bates numbered HALEM00007290.

               8.    The document bearing page number PA0032 is a true and correct copy of an

   email thread ending 3/10/04, produced by Ed Murnane and bates numbered Murnane007026.

               9.    The document bearing page number PA0033 is a true and correct copy of an

   email thread ending 6/22/05, produced by Ed Murnane and bates numbered Murnane040202.

               10.   The document bearing page numbers PA0034-35 is a true and correct copy of an

   email dated 8/18/05, produced by State Farm and bates numbered HALEM00000284-285.



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               11.   The document bearing page numbers PA0036-37 is a true and correct copy of



               12.   The document bearing page number PA0038 is a true and correct copy of a

   Memorandum from Ed Murnane to ICJL Executive Committee dated 1/12/07, produced by the

   ICJL and bates numbered ICJL000013.

               13.   The document bearing page number PA0039 is a true and correct copy of an

   email 4/12/04, produced by Ed Murnane and bates numbered Murnane011058.

               14.   The document bearing page number PA0040 is a true and correct copy of the

   Agenda, ICJL Conference on the 5th Judicial District, 1/22/04, produced by Ed Murnane and

   bates numbered Murnane002569.

               15.   The document bearing page number PA0041 is a true and correct copy of the List

   of Attendees, ICJL Conference on the 5th Judicial District, 7/1/04, produced by Ed Murnane and

   bates numbered Murnane003449.

               16.   The document bearing page number PA0042 is a true and correct copy of an

   email 7/8/04, produced by Ed Murnane and bates numbered Murnane066514.

               17.   The document bearing page numbers PA0043-0044 is a true and correct copy of




               18.   The document bearing page numbers PA0045-0046 is a true and correct copy of




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               19.   The document bearing page numbers PA0047-0067 is a true and correct copy of

   the ICJL PowerPoint Presentation, 2004, produced by Ed Murnane and bates numbered

   Murnane000237-57.

               20.   The document bearing page numbers PA0068-0073 is a true and correct copy of

   the Memorandum from Ed Murnane to Carter Hendren, 1/6/04, produced by Ed Murnane and

   bates numbered Murnane003162-67.

               21.   The document bearing page numbers PA0074-0078 is a true and correct copy of

   Murnane Notes of Remarks to CJRG produced by Ed Murnane and bates numbered

   Murnane006045-6049.

               22.   The document bearing page numbers PA0079-0202 is a true and correct copy of



               23.   The document bearing page numbers PA0203-0204 is a true and correct copy of

   an email dated 7/26/03, produced by Ed Murnane and bates numbered Murnane006075-76.

               24.   The document bearing page numbers PA0205-208 is a true and correct copy of

   the Preliminary Political Plan for Fifth District of Illinois produced by Dwight Kay and bates

   numbered Hale 073-76.

               25.   The document bearing page numbers PA0209-0215 is a true and correct copy of

   an email dated 8/5/03, produced by Dwight Kay and bates numbered Hale 077-83.

               26.   The document bearing page numbers PA0216-0261 is a true and correct copy of

   the IBRT/ICJL PowerPoint Presentation, 2004, produced by Ed Murnane and bates numbered

   Murnane005374-5779.




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               27.   The document bearing page numbers PA0262-0283 is a true and correct copy of

   the Agenda, IBRT Annual Meeting, 2003 produced by Ed Murnane and bates numbered

   Murnane003969-003990.

               28.   The document bearing page numbers PA0284 is a true and correct copy of an

   email thread ending 1/25/04, produced and bates numbered HALE0001495.

               29.   The document bearing page numbers PA0285-0286 is a true and correct copy of

   an email dated 9/29/09 produced by Ed Murnane and bates numbered Murnane023658-59.

               30.   The document bearing page number PA0287 is a true and correct copy of an

   email dated 2/6/04, produced by Dwight Kay and bates numbered Hale 0722.

               31.   The document bearing page number PA0288 is a true and correct copy of an

   email thread ending 1/9/04, produced by Ed Murnane and bates numbered Murnane001673.

               32.   The document bearing page number PA0289 is a true and correct copy of an

   email dated 10/29/04, produced by Cliff Pintak and bates numbered PINTAK00004944.

               33.   The document bearing page numbers PA0290-0292 is a true and correct copy of

   an email thread ending 2/4/04, produced by Ed Murnane and bates numbered Murnane003714-

   16.

               34.   The document bearing page numbers PA0293-0294 is a true and correct copy of

   the Excerpt of Deposition of S. Tomaszewski, 9/10/15.

               35.   The document bearing page number PA0295 is a true and correct copy of an

   email thread ending 7/13/04, produced by Ed Murnane and bates numbered Murnane004415.

               36.   The document bearing page number PA0296 is a true and correct copy of the

   Sequoyah Information Systems Invoice to ICJL, 3/31/04, produced by State Farm and bates

   numbered HALEM00004995.



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               37.   The document bearing page numbers PA0297 is a true and correct copy of an

   email dated 5/6/04, produced by Ed Murnane and bates numbered Murnane002468.

               38.   The document bearing page number PA0298 is a true and correct copy of an

   email dated 7/30/04, produced by Ed Murnane and bates numbered Murnane004593.

               39.   The document bearing page numbers PA0299-0300 is a true and correct copy of

   an email dated 6/23/04, produced by Ed Murnane and bates numbered Murnane009146-47.

               40.   The document bearing page number PA00301 is a true and correct copy of an

   email thread ending 1/19/04, produced by Ed Murnane and bates numbered Murnane001719.

               41.   The document bearing page number PA0302 is a true and correct copy of an

   email dated 9/18/04, produced by Ed Murnane and bates numbered Murnane069825.

               42.   The document bearing page numbers PA0303-0305 is a true and correct copy of

   the August/October, 2004 calendar of S. Tomaszewski produced by Steve Tomaszewski as the

   ninth document of his production.

               43.   The document bearing page number PA0306 is a true and correct copy of an

   email string ending 5/26/04, produced by Dwight Kay and bates numbered Hale 1022.

               44.   The document bearing page numbers PA0307-0314 is a true and correct copy of

   the notes of Regina Dillard, 5/24/04, produced by State Farm and bates numbered

   HALEM00000033-40.

               45.   The document bearing page numbers PA0315-0328 is a true and correct copy of



               46.   The document bearing page numbers PA0329-0330 is a true and correct copy of

   an email string ending 4/12/10 produced by ICJL and bates numbered ICJL001643-44.




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               47.   The document bearing page numbers PA0331-0332 is a true and correct copy of



               48.   The document bearing page numbers PA0333-0360 is a true and correct copy of

   the PowerPoint presentation of IBRT/ICJL, 9/11/03, produced by Ed Murnane and bates

   numbered Murnane000266-93.

               49.   The document bearing page numbers PA0361-0507 is a true and correct copy of

   the Expert Report of Thomas A. Myers.

               50.   The document bearing page numbers PA0508-0520 is a true and correct copy of

   correspondence of Samuel Skinner of the U.S. Chamber Institute for Legal Reform dated

   1/23/03, produced by the USCC and bates numbered USCC-004294-4306.

               51.   The document bearing page numbers PA0521-0522 is a true and correct copy of

   the RSVP List, U.S. Chamber Institute For Legal Reform 1/28/04 Board Meeting, produced by

   the USCC and bates numbered USCC-000886-87.

               52.   The document bearing page numbers PA0523-0524 is a true and correct copy of

   an email thread ending 10/29/03, produced by State Farm and bates numbered

   HALEM00020543-44.

               53.   The document bearing page numbers PA0525-0645 is a true and correct copy of

   the Program, U.S. Chamber Institute for Legal Reform Donor Representatives Meeting, 2003,

   produced by the USCC and bates numbered USCC-5399-5519.

               54.   The document bearing page numbers PA0646-0666 is a true and correct copy of a

   memorandum from Agnes Warfield to Lisa Rickard, 9/7/12, produced by the USCC and bates

   numbered USCC-003231-3251.




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               55.   The document bearing page numbers PA0667-0686 is a true and correct copy of

   the U.S. Chamber Form 990 Return of Organization Exempt from Income Tax, 2004, produced

   by State Farm and bates numbered SFHALE0000378-397.

               56.   The document bearing page numbers PA0687-0709 is a true and correct copy of

   the American Tort Reform Association Form 990 Return of Organization Exempt from Income

   Tax, 2004, produced by ATRA.

               57.   The document bearing page numbers PA0710-0712 is a true and correct copy of




               58.   The document bearing page numbers PA0713-0714 is a true and correct copy of

   correspondence from K. Brunner and T. Gottschalk of Civil Justice Reform Group to D. Bain

   dated 7/30/04, produced by State Farm and bates numbered HALEM0000859-860.

               59.   The document bearing page number PA0715 is a true and correct copy of



               60.   The document bearing page numbers PA0716-0717 is a true and correct copy of



               61.   The document bearing page number PA0718 is a true and correct copy of the

   ICJL Board of Directors produced by Murnane and bates numbered Murnane006193.

               62.   The document bearing page number PA0719 is a true and correct copy of the

   Statement of Ed Murnane produced by Murnane and bates numbered Murnane000053.

               63.   The document bearing page numbers PA0720-0721 is a true and correct copy of

   the Illinois Chamber Officers and Directors, 2002-2003, produced by the ISCC and bates

   numbered ISCC001128, 1218.



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               64.   The document bearing page numbers PA0722-0724 is a true and correct copy of

   the Illinois Chamber of Commerce Executive Meeting Minutes, 2/26/04, produced by the ISCC

   and bates numbered ISCC00152-54.

               65.   The document bearing page numbers PA0725-0726 is a true and correct copy of

   the Funding Solicitation for JUSTPAC and Citizens for Karmeier produced by Murnane and

   bates numbered Murnane066276-77.

               66.   The document bearing page numbers PA0727 is a true and correct copy of

   correspondence from T. Donohue to Ed Rust, 11/16/99, produced by the USCC and bates

   numbered USCC-003344.

               67.   The document bearing page numbers PA0728-0732 is a true and correct copy of

   the Wall Street Journal article of 9/11/01, Business Lobby Recovers its Clout by Dispensing

   Favors for Members, available at https://www.wsj.com/articles/SB100015411979219346.

               68.   The document bearing page numbers PA0737-0738 is a true and correct copy of

   correspondence from Tom Donohue to Ed Rust, 9/19/01, produced by the USCC and bates

   numbered USCC-003358-59.

               69.   The document bearing page numbers PA0739-0755 is a true and correct copy of a

   memorandum from Agnes Warfield to Tom Donohue, 7/25/01, produced by the USCC and bates

   numbered USCC-004331-4347.

               70.   The document bearing page number PA0756 is a true and correct copy of

   correspondence from Tom Donohue to Ed Rust, 10/5/00, produced by the USCC and bates

   numbered USCC-003422.




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             71.   The document bearing page numbers PA0757-0776 is a true and correct copy of a

 memorandum from Agnes Warfield to Tom Donohue, 1/27/04, produced by the USCC and bates

 numbered USCC-004422-4441

             72.   The document bearing page numbers PA0777-0793 is a true and correct copy of

 the U.S. Chamber of Commerce memo, 11/24/03, produced by the USCC and bates numbered

 USCC-004369-4373.

             73.   The document bearing page number PA0794 is a true and correct copy of notes

 from Tom Donahue meeting with Ed Rust, 2/4/04, produced by the USCC and bates numbered

 USCC-004471.

             74.   The document bearing page numbers PA0795-0809 is a true and correct copy of a

 U.S. Chamber of Commerce memo, 3/4/04, produced by the USCC and bates numbered USCC-

 004457-4471.

             75.   The document bearing page numbers PA0810-0811 is a true and correct copy of

 correspondence from Tom Donahue to Ed Rust, 5/28/02, produced by the USCC and bates

 numbered USCC-003363-3364.

             76.   The document bearing page numbers PA0812 is a true and correct copy of an

 email thread ending 8/26/03, produced by the USCC and bates numbered USCC-006229.

             77.   The document bearing page numbers PA0813-0815 is a true and correct copy of

 an email thread ending 4/26/04, produced by State Farm and bates numbered HALEM00013785-

 787.

             78.   The document bearing page numbers PA0816-0822 is a true and correct copy of




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             79.   The document bearing page number PA0823 is a true and correct copy of an

 email thread ending 5/4/04, produced by Ed Murnane and bates numbered Murnane003912.

             80.   The document bearing page numbers PA0824 is a true and correct copy of an

 email thread ending 5/18/04, produced by Ed Murnane and bates numbered Murnane003004.

             81.   The document bearing page numbers PA0825-0902 is a true and correct copy of

 the Deposition Transcript of Sherman “Tiger” Joyce, 5/21/15.

             82.   The document bearing page numbers PA0903-0905 is a true and correct copy of

 the JUSTPAC Confidential Update on the Fifth District Supreme Court race, 2/20/04, produced

 by Ed Murnane and bates numbered Murnane001949-51.

             83.   The document bearing page numbers PA0906-0907 is a true and correct copy of

 the ATRA Letter to State Farm and $50,000 deposit slip, 10/6/04, produced by ATRA as the

 fourth document in its production.

             84.   The document bearing page number PA0908 is a true and correct copy of the

 ATRA Letter and $50,000 Check to JUSTPAC, 10/6/04, produced by ATRA as the tenth

 document in its production.

             85.   The document bearing page numbers PA0909-0918 is a true and correct copy of

 Kim Brunner CJRG Tucson Retreat Ideas, 3/2/06, produced by State Farm and bates numbered

 HALEM00000894-903.

             86.   The document bearing page numbers PA0919-0920 is a true and correct copy of a




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             87.   The document bearing page numbers PA0921-0924 is a true and correct copy of




             88.   The document bearing page numbers PA0925-0927 is a true and correct copy of



             89.   The document bearing page numbers PA0928 is a true and correct copy of



             90.   The document bearing page numbers PA0929-931 is a true and correct copy of



             91.   The document bearing page number PA0932 is a true and correct copy of



             92.   The document bearing page numbers PA0933-0944 is a true and correct copy of




             93.   The document bearing page numbers PA0945-0949 is a true and correct copy of



             94.   The document bearing page number PA0950 is a true and correct copy of




             95.   The document bearing page numbers PA0951-0952 is a true and correct copy of




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             96.    The document bearing page numbers PA0953-0956 is a true and correct copy of



             97.    The document bearing page numbers PA0957-0958 is a true and correct copy of




             98.    The document bearing page number PA0959 is a true and correct copy of



             99.    The document bearing page number PA0960 is a true and correct copy of



             100.   The document bearing page number PA0961 is a true and correct copy of



                                             .

             101.   The document bearing page number PA0962 is a true and correct copy of



             102.   The document bearing page numbers PA0963-0964 is a true and correct copy of



             103.   The document bearing page numbers PA0965-1022 is a true and correct copy of

 the Deposition Transcript of Robert Shultz, 5/1/15.

             104.   The document bearing page numbers PA1023-1024 is a true and correct copy of

 an article detailing the 2004 ISBA Judicial Ratings available at

 http://thesouthern.com/news/state-bar-releases-supreme-court-candidate-

 evaluations/article_4a796d65-67a0-530e-a81b-197cb1fe01bd.html.




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             105.   The document bearing page numbers PA1025-1026 is a true and correct copy of

 an article Detailing the 2004 ISBA Judicial Ratings available at:

 http://madisonrecord.com/stories/510558645-isba-karmeier-better-qualified-than-maag

             106.   The document bearing page number PA1027 is a true and correct copy of an

 email thread ending 6/19/09, produced by Ed Murnane and bates numbered Murnane065570.

             107.   The document bearing page numbers PA1028-1130 is a true and correct copy of

 the State Farm’s Opposition to Plaintiffs’ Conditional Motion for Non-Participation in Avery,

 filed 1/31/2005.

             108.   The document bearing page numbers PA1131-1170 is a true and correct copy of

 the State Farm’s Response In Opposition To Petition To Recall Mandate And Vacate August 18,

 2005 Judgment in Avery, filed 9/19/2011.

             109.   The document bearing page numbers PA1171-1180 is a true and correct copy of

 the Campaign for 2016 Chronology.

             110.   The document bearing page numbers PA1181-1214 is a true and correct copy of

 the Expert Report of Charles G. Geyh.

             111.   The document bearing page numbers PA1215-1232 is a true and correct copy of

 the Avery judgment, entered on 10/8/99.

             I declare under the penalty of perjury that the foregoing is true and correct.



             Executed on July 31, 2017                     By: /s/Kristofer S. Riddle
                                                                  Kristofer S. Riddle




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